                Case 2:24-cv-03951-PSG-RAO Document 1-11 Filed 05/10/24 Page 1 of 8 Page ID #:302
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.




                                                  Exhibit K




PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

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                Case 2:24-cv-03951-PSG-RAO Document 1-11 Filed 05/10/24 Page 2 of 8 Page ID #:303
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                             U.S. Patent No. 9,021,112

                                              Sandpiper CDN




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                                                                       2
                Case 2:24-cv-03951-PSG-RAO Document 1-11 Filed 05/10/24 Page 3 of 8 Page ID #:304
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               9,021,112                                                      Google CDN
 1. A method of content delivery in a Google uses and provides content delivery network(s) (“Google CDN”), including
 network, the method comprising:      Google’s internal services and services Google offers to third parties that are used to provide
                                      content, such as webpages and/or video streams, over a network. Google CDN includes
                                      services such as Cloud DNS, for example, along with Google’s own use of technologies to
                                      provide content in a network.

                                             For example, Cloud DNS provides a plurality of Domain Name System (DNS) servers. For
                                             example, Google provides “anycast name servers” for “DNS serving” as part of its Cloud
                                             DNS service.




                                             https://console.cloud.google.com/marketplace/product/google-cloud-platform/cloud-dns




                                             https://cloud.google.com/dns?hl=en

 (A) providing a plurality of Domain         Google provides DNS servers that share a common anycast address. For example, the
 Name System (DNS) servers associated        “redundant locations” described by Google show multiple servers share a common anycast
 with a Content Delivery Network             address in Google Cloud DNS. Cloud DNS servers include servers associated with content
 (CDN), said plurality of CDN DNS            servers.
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       3
                Case 2:24-cv-03951-PSG-RAO Document 1-11 Filed 05/10/24 Page 4 of 8 Page ID #:305
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


                9,021,112                                                             Google CDN
 servers sharing a common anycast
 address, wherein each CDN DNS server
 is associated with a respective plurality
 of content servers;




                                             https://cloud.google.com/dns?hl=en

 (B) causing said plurality of CDN DNS Google causes CDN DNS servers to be authoritative for a hostname, for example by causing
 servers to be authoritative for a an anycast address to be associated with a hostname.
 hostname associated with a content
 provider by causing said common
 anycast address to be associated with
 said hostname;


                                             https://console.cloud.google.com/marketplace/product/google-cloud-platform/cloud-dns

 (C) responsive to a request for content Google’s Cloud DNS servers, and the respective plurality of content servers, are configured
 associated with the content provider and to support content delivery (e.g., “applications and services” for “users”) for content
 issued by a client, said request including providers. For example, the list below shows a plurality of content providers.
 at least said hostname,




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                                                                       4
                Case 2:24-cv-03951-PSG-RAO Document 1-11 Filed 05/10/24 Page 5 of 8 Page ID #:306
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                 9,021,112                                                            Google CDN




                                             https://www.thomsondata.com/customer-base/companies-that-use-google-cloud.php

 (c1) causing said hostname to be            Google resolves a first hostname to identify an IP address of a content server, in response
 resolved to said common anycast             to a request for content associated with a content provider (where the request includes the
 address by an Internet Service Provider     hostname). For example, Google Cloud DNS allows requests that include a hostname (e.g.,
 (ISP) DNS server; and then                  “example.com”).




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                Case 2:24-cv-03951-PSG-RAO Document 1-11 Filed 05/10/24 Page 6 of 8 Page ID #:307
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


                 9,021,112                                                            Google CDN




                                             https://cloud.google.com/dns/docs/tutorials/create-domain-tutorial




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                Case 2:24-cv-03951-PSG-RAO Document 1-11 Filed 05/10/24 Page 7 of 8 Page ID #:308
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


                 9,021,112                                                            Google CDN




                                             https://cloud.google.com/dns/docs/update-name-servers?sjid=13749068997963802575-
                                             NC




                                             https://cloud.google.com/dns/docs/zones/zones-overview

 (c2) by one of said plurality of CDN        Google resolves hostnames to identify IP addresses for use by the client.
 DNS servers, resolving said hostname
 to identify an IP address for use by the
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

                                                                       7
                Case 2:24-cv-03951-PSG-RAO Document 1-11 Filed 05/10/24 Page 8 of 8 Page ID #:309
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                  9,021,112                                                           Google CDN
 client to retrieve the content from a
 content server.



                                             https://console.cloud.google.com/marketplace/product/google-cloud-platform/cloud-dns




                                             https://cloud.google.com/blog/topics/developers-practitioners/what-cloud-cdn-and-how-
                                             does-it-work




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